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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OFFLORIDA
                                  CASE NO .19-6549-Hunt

UNITED STATES O F AM ERICA
               Plaintil,



Stuad Finkelstein,
                     Defendant.
                                  /

                                      ORDER OF REMOVAL

      It appearing that in the Southern District of NewYork,a Crim inalComplaint w as filed
againstthe above-named defendantwhich charges with M ailFraud'
                                                             ,Aggravated ldentity Theft;
Obstruction of Justice and False Declarations Before a Coud, and that the defendant was
arrested in the Southern District of Florida and was given a hearing before United States
M agistrate Judge Patrick M . Hunt at Fort Lauderdale, Florida,which om cially com m itted the
defendantfor rem ovalto the Southern Districtof New York,itis O RDERED AND A DJUDG ED
thatthe defendantbe rem oved to the above-named districtfortrialon said charge.
      And itfudher appearing thatthe defendantwaived furtherhearings in the said removal
proceedings held by the M agistrate Judge Patrick M .Huntforrem ovaland posted bailin the
amountof      W X S&D XXZ                           whichwasapprovedbytheUnitedStates
Magistrate Judge Patrick M .Hunt,and itis furtherO RDERED thatthe defendantshallappearin
the aforesaid district at such tim es and places as m ay be ordered by that District Coud, in
accordance w ith the term s and conditions ofaforesaid bailbond furnished by the defendant,and
itis fudherORDERED thatthe funds,plus interest,which m ay have been deposited on behalfof
this defendantwith the Clerk of the Courtunder BailReform Actbe transferred to the district
where rem oved.
      DO NE AND O RDERED atFortLauderdale,Florida,this 19th' day ofNovem ber,2019.


                                                           j                 '

                                              PATRIC K M .HUNT
                                              UNITED STATES MAG ISTRATE JUDGE

cc: M iam i,Financial
